            Case 1:17-cv-00498-LY Document 1 Filed 05/24/17 Page 1 of 12

                                                                                       FILED
                             iN THE UNITED STATES DISTRICT COURT                      MAY 2 4    2017
                                  WESTERN DITRICT OF TEXAS
                                        AUSTIN DIVISION                          CLERK, U.S. DIS1FICT COURT
                                                                                 WTpt      PIcTPICT ç
                                                                                 BY____________________
CINDY A. FERGUSON                                 §
           Plaintiff

V.
                                                  §
                                                  §       A17CVO49L
                                                           Action
                                                        Civil         No.
                                                                                                     LY
                                                  §
                                                  §
PICK FIVE IMPORTS d/b/a MAXI-                     §
MATIC USA, INC., FAGOR                            §
AMERICA & IAC/INTERACTIVE                         §
CORP. dlb/a THE HOME SHOPPING                     §
NETWORK, INC.                                     §     JURY DEMAND
             Defendants                           §




                               PLAINTIFF'S ORIGINAL COMPLAINT


TO THE HONORABLE JUDGE OF SAID COURT:

          COME NOW, CINDY FERGUSON, Plaintiff in the above-styled and numbered cause,

complaining of Defendants, PICK FIVE IMORTS, INC. d/b!a MAXI-MATIC USA, INC.,

FAGOR AMERICA and IAC/INTERACTIVE CORP. d/b/a THE HOME SHOPPING

NETWORK, INC., and in support thereof would respectfully show unto this Honorable Court

the following:

                                            I.   DISCOVERY LEVEL

     1.   Plaintiff intends to conduct Discovery pursuant to a Level 3 Discovery Control Plan, as

          set forth in Tex. R. Civ. P. 190.4, and Plaintiff hereby requests that the Court enter a

          Level   3   Discovery Control Plan.

                                                 II.   PARTIES

     2. Plaintiff, CINDY A. FERGUSON (hereinafter "Ms. Ferguson" is an individual and

          citizen of the State of Texas who resides in Austin, Travis County, Texas.


           Plaintiff's Original Complaint                                                               1
      Case 1:17-cv-00498-LY Document 1 Filed 05/24/17 Page 2 of 12



3. Defendant, PICK FIVE IMPORTS, INC. dlbla MAXI-MATIC USA, INC. ("hereinafter

   "MAXI-MATIC") is a foreign for-profit corporation, organized and existing under the

   laws of the State of California. Defendant has its principal office in the State of

   California, which is located at 18401 E. Arenth Avenue, # B, City of Industry, California

   91748. Defendant PICK FIVE IMPORTS, iNC. also conducts business under the name

   "Maxi-Matic, USA, Inc." Defendant may be served with process by serving the Texas

   Secretary of State at 1019 Brazos Street, Austin, Texas, as its agent for service, because

   Defendant engages in business in Texas but does not maintain a regular place of business

   in Texas or a designated agent for service of process in Texas. Pursuant to TEX. CIV.

   PRAC. & REM. CODE         §   17.044, service of citation on this Defendant may be

   accomplished by serving the Secretary of State of Texas, who will then forward the

   citation by certified mail, return receipt requested, to its registered agent for service of

   process, Pyng Shan Liu located at 18401 E. Arenth Avenue, # B, City of Industry,

   California 91748.

4. Defendant, FAGOR AMERICA, (hereinafter "Fagor") is a foreign for-profit corporation,

   organized and existing under the laws of the State of New Jersey. Defendant has its

   principal office in the State of New Jersey, which is located at 1099 Wall Street, W #179,

   Lyndhurst, New Jersey 07071. Defendant may be served with process by serving the

   Texas Secretary of State at 1019 Brazos Street, Austin, Texas, as its agent for service,

   because Defendant engages in business in Texas but does not maintain a regular place of

   business in Texas or a designated agent for service of process in Texas. Pursuant to TEX.

   CIV. PRAC. & REM. CODE           §   17.044, service of citation on this Defendant may be

   accomplished by serving the Secretary of State of Texas, who will then forward the



    Plaintiffs Original Complaint                                                                 2
        Case 1:17-cv-00498-LY Document 1 Filed 05/24/17 Page 3 of 12



     citation by certified mail, return receipt requested, to its registered agent for service of

     process, Mr. Patricio Barriga at 1099 Wall Street West, Suite 179, Lyndhurst, New Jersey

     07071.

5.   Defendant, IAC/INTERACTIVE CORP. d/b/aJ HOME SHOPPING NETWORK,

     (hereinafter "HSN") is a foreign for-profit corporation, organized and existing under the

     laws of the State of Florida. Defendant has its principal office in the State of Florida, but

     has its principal office mailing address as 555 West   1
                                                                8th
                                                                      Street, New York, New York

     10011. Defendant may be served with process by serving the Texas Secretary of State at

     1019 Brazos Street, Austin, Texas, as its agent for service, because Defendant engages in

     business in Texas but does not maintain a regular place of business in Texas or a

     designated agent for service of process in Texas. Pursuant to TEX. CIV. PRAC. & REM.

     CODE     §   17.044, service of citation on this Defendant may be accomplished by serving

     the Secretary of State of Texas, who will then forward the citation by certified mail,

     return receipt requested, to its registered agent for service of process, CT Corporation

     System located at 1200 South Pine Island Road, Plantation, Florida 33324.

                                        III.   JURISDICTION

6. This Court has personal jurisdiction over Defendants pursuant to the Texas Long Arm

     State, TEX. CIV. PRAC. & REM. CODE § 17.042, as this lawsuit arises out of a tort

     committed by Defendants in whole or in part in Texas. Defendants purposefully availed

     itself of the privileges and benefits of conducting business in Texas by directing its

     product sales to this State, maintaining such minimum contacts with this State that the

     assumption of jurisdiction by this Court does not offend traditional notions of fair play

     and substantial justice.



      Plaintiff's Original Complaint                                                                 3
        Case 1:17-cv-00498-LY Document 1 Filed 05/24/17 Page 4 of 12



7. This Court has jurisdiction over the lawsuit under 28 U.S.C. §1332(a)(1), as the Plaintiffs

     and Defendants are citizens of different states and the amount in controversy exceeds

     $75,000, excluding interest and costs.

                                           IV.      VENUE

8.   Venue is proper in this district under 28   u.sc. § 139 1(a)(a),   because all or a substantial

     part of the events or omissions giving rise to this claim occurred in this district.

                                V.     CONDITIONS PRECEDENT

9.   All conditions precedent have been performed or have occurred.

                                 VI.    FACTUAL BACKGROUND

10. On or about October 24, 2014, Plaintiff received a Maxi-Matic Elite Platinum, 8 quart

     capacity digital pressure cooker, Model EPC-808 (hereinafter, "the cooker") which had

     been ordered on October 17, 2014 from an advertisement that aired on her home

     television from Defendant "HSN." Upon information and belief, that Defendant "HSN"

     is the seller of and/or marketing entity for the cooker and upon information and belief

     that Defendants "Maxi-Matic" and "Fagor" are the designers, manufacturers, producers,

     distributors and vendors for the cooker.

11. The cooker is an electric kitchen appliance designed to be used for efficient preparation

     The product is designed to prepare full meals from scratch by boiling liquids inside a

     sealed pot that produces steam, which is trapped inside of the appliance to create

     pressure. The resulting temperatures produced are supposed to cook meals more

     efficiently, while maintaining more nutrients than conventional cooking methods.

12. Ms. Ferguson used the cooker for the first time on May 28, 2015 and followed all

     instructions enclosed with the cooker. She intended to prepare beans for her



      Plaintiff's Original Complaint                                                                   4
      Case 1:17-cv-00498-LY Document 1 Filed 05/24/17 Page 5 of 12



   family's dinner that evening. While preparing the beans that day, suddenly and without

   warning, the lid blew off of the cooker, and the pinto beans burst out of the cooker onto

   Ms. Ferguson, resulting in extensive and severe burns to her body.

13. Ms. Ferguson's mother called the Austin Emergency Medical Services ambulance and

   Ms. Ferguson was rushed to the hospital by the Austin Emergency Medical Services

   following the incident, where she underwent treatment of her severe injuries.

14. To date, Mrs. Vasquez continues to endure severe pain and the permanent scarring

   associated with her bums.

15. Plaintiff did not modify the cooker in any way before using it. The counter on which the

   cooker was being used was level, nothing was obstructing or surrounding the cooker, and

   nothing was atop the lid of the cooker.

16. Defendants' failure to take reasonable care in developing, designing, manufacturing,

   testing, selling, and/or marketing a product free from defects and safe for consumer use,

   and Defendants' failure to adequately warn consumers of foreseeable dangers related to

   its product, proximately caused Plaintiffs' injuries and damages.

17. Defendants owed a duty to        Plaintiff to adequately warn of the dangers inherent in the use

   of the product it developed, designed, manufactured, tested, sold, and/or marketed.

   Defendants failed to adequately warn consumers of the dangers inherent in its product

   that is the subject of this suit.

                           VII. CAUSE OF ACTION: NEGLIGENCE

18. Plaintiff incorporates the facts and allegations explained above as     if fully set forth herein.

19. Defendants were negligent in developing, designing, manufacturing, testing, selling,

   and/or marketing the cooker.



    Plaintiff's Original Complaint                                                                   5
      Case 1:17-cv-00498-LY Document 1 Filed 05/24/17 Page 6 of 12



20. At all times material hereto, the cooker was being used by Ms. Ferguson for the

   foreseeable intended purposes for which it was developed, designed, manufactured,

   tested, sold, and/or marketed. Plaintiff was a foreseeable intended users of the cooker.

21. Defendants owed a duty to Plaintiffs to use reasonable care in developing, designing,

   manufacturing, testing, selling, and/or marketing a product free from defects in material

   or workmanship that was safe and functional for consumer use and did not pose a

   foreseeable risk of harm to consumers. Defendants failed to exercise such reasonable

   care.

22. Defendants owed a duty to Plaintiff to adequately warn of the dangers inherent in the use

   of the product it developed, designed, manufactured, tested, sold, and/or marketed.

23. Defendants failed to adequately warn consumers of the dangers inherent in its product

   that is the subject of this suit.

24. Plaintiffs injuries and damages are the direct and proximate result of the Defendants'

   negligence, as well as that of its agents, servants, employees, and apparent agents acting

   within and during the scope of their employment, authority, or apparent authority.

25. Plaintiff's injuries and damages are not due to any act or failure on the part of Plaintiff

26. Defendants were negligent in one or more of the following respects:

   a. Failing to take appropriate steps to ensure the cooker could not explode;

   b. Failing to conduct an appropriate inspection of the cooker;

    c. Marketing, selling, and shipping the cooker in an unsafe condition;

    d. Failing to provide users   of the cooker with adequate instructions for its safe use;

    e. Failing to provide users   of the cooker with adequate warnings concerning its use;




     Plaintiffs Original Complaint                                                                6
      Case 1:17-cv-00498-LY Document 1 Filed 05/24/17 Page 7 of 12



f. Failing to thoroughly and adequately test the cooker to ensure that the lid could not be

discharged from the cooker in the course of cooking;

g. Designing andlor selling the cooker with the capacity to pressurize and reach a high

temperature even if the lid was only partially engaged;

h. Failing to equip the cooker with properly functioning safety features which would

prevent the lid from opening while contents were under pressure;

i. Failing to equip the cooker with properly functioning safety features    which would

prevent the cooker from operating when the lid was not fully sealed;

j. Failing to prevent damage to, or sticking or malfunction of, the cooker's safety

features;

k. Failing to provide a safe, appropriate, and effective mechanism for securing the lid of

the cooker;

1.   Designing the lid and housing in such a way that it is not apparent to the user that the

lid is not fully sealed;

m. Failing to design the cooker with a warning mechanism that would allow a user to

recognize that the lid was not fully sealed;

n. Failing to discover defects in, and the dangerous condition of, the cooker;

o. Failing to remedy the defects in, and the dangerous condition of, the cooker;

p. Failing to discover defects in, and dangerous inadequacies of, the instructions and

warnings provided with the cooker;

q. Failing to properly test, evaluate, inspect, and assemble the cooker;

r. Failing to properly design, manufacture, and advertise the cooker to ensure that it was

not unreasonably dangerous;



     Plaintiff's Original Complaint                                                             7
          Case 1:17-cv-00498-LY Document 1 Filed 05/24/17 Page 8 of 12



       s. Failing to warn the public in general, and Plaintiffs in particular,   of the dangers

       presented by the use of Defendant's product;

       t. Failing to exercise due care and act with regard for the safety of those using its

       products; and

       u. Such other and further acts and/or omissions as may be shown by the evidence at the

       trial of this cause.

27. Each of the above-listed acts and/or omissions, taken singularly or in combination, was a

   proximate cause of Plaintiff's injuries and damages. The above and foregoing acts and

   omissions of Defendants constitute negligence, which was the proximate cause of

   Plaintiff's resulting injuries and damages. Nothing Plaintiff did or failed to do caused or

   contributed to cause the occurrence made the basis of this suit.

                       VIII. CAUSE OF ACTION: STRICT LIABILITY

   28. Plaintiff incorporates the facts and allegations explained above as   if fully set forth herein.

   29. Defendants are the manufacturer, designer, distributor, and/or seller of the cooker.

   30. The cooker was sold and delivered to Plaintiff. At all times prior to delivery, the cooker

       was in the exclusive control of Defendants, their agents, servants, employees, and/or

       apparent agents, and was delivered to Plaintiff without substantial change in its

       condition.

   31. The cooker was used by Ms. Ferguson as designed and intended by the Defendants,

       without any change in its condition from the time it left the control of the Defendant

       "HSN" until it was used by the Plaintiff.




        Plaintiff's Original Complaint                                                                8
       Case 1:17-cv-00498-LY Document 1 Filed 05/24/17 Page 9 of 12



32. The cooker, which was sold and delivered to Plaintiff by Defendant "HSN" and

   ultimately used by Ms. Ferguson, was, at the time of sale and delivery, in a defective

   condition and unreasonably dangerous to the ultimate user.

33. The product was defective and unreasonably dangerous in that it failed to conform to the

   product design and specifications of other pressure cookers, where it failed to prevent the

   sudden and unexpected ejection of boiling hot liquids when used in accordance with the

   instructions provided. Such defect(s) constituted a producing cause of Plaintiffs' injuries

   and damages.

34. The product was defective and unreasonably dangerous, because there was a lack of

   adequate warnings and notices that the product could inadvertently eject boiling hot

   liquids in a way not warned of or contemplated by the ordinary user of the product. Such

   defect(s) constituted a producing cause of Plaintiffs' injuries and damages.

35. The product was defective and unreasonably dangerous due to the hazard created by the

   ability of the lid to come off while its contents were under pressure and by the ability of

   the device to function with the lid only partially engaged. Such defect(s) constituted a

   producing cause of Plaintiffs' injuries and damages.

36. As a direct result of the defective condition of the cooker, Plaintiff sustained the injuries

   and losses described herein. Had the cooker not been manufactured, designed,

   distributed, or sold by Defendants in such an unreasonably dangerous condition,

   Plaintiff's injuries would not have occurred.

             IX. CAUSE OF ACTION: BREACH OF EXPRESS WARRANTY

37. Plaintiff incorporates the facts and allegations explained above as   if fully set forth herein.




     Plaintiffs Original Complaint                                                                  9
      Case 1:17-cv-00498-LY Document 1 Filed 05/24/17 Page 10 of 12



38. Defendants are either the designer, manufacturer, assembler, distributor, and/or seller of

   the cooker. Defendants sold and shipped the cooker to Plaintiff

39. Defendants expressly warranted that its product was safe for ordinary use when used in

   compliance with the instructions provided.

40. Defendants' affirmations regarding the safety of its product formed a basis of the bargain

    for Plaintiff, without which the Plaintiff would not have purchased Defendants' product.

41. The product did not conform to the Defendants' affirmations regarding the safety of its

    product.

42. As a direct and proximate result of Defendant's breach of express warranties, Plaintiff

    sustained the injuries and losses described herein.

    X.     CAUSE OF ACTION: BREACH OF IMPLIED WARRANTY OF
           MERCHANTABILITY


43. Plaintiff incorporates the facts and allegations explained above as if fully set forth herein.

44. Defendants are either the designer, manufacturer, assembler, distributor, and/or seller of

    the cooker.

45. Defendant "HSN" sold and shipped the cooker to Plaintiff.

46. Defendants impliedly warranted that its product was merchantable, fit for the ordinary

    purpose for which it was sold or used, was of fair average quality so as to pass without

    objection in the trade, and conformed to Defendants' own affirmations regarding the

    cooker's safety features and overall safe condition.

47. Defendants breached their implied warranty of merchantability, as the product did not

    conform to the Defendant's affirmations regarding the safety features and overall safe

    condition of the product, the product was not fit for the ordinary purpose for which it was



    Plaintiffs Original Complaint                                                               10
      Case 1:17-cv-00498-LY Document 1 Filed 05/24/17 Page 11 of 12



   sold or used, and was not of fair average quality so as to pass without objection in the

   trade.

48. As a direct and proximate result of Defendants' breach of the implied warranty of

   merchantability, Plaintiff sustained the injuries and losses described herein.


     XI. CAUSE OF ACTION: BREACH OF IMPLIED WARRANTY OF FITNESS
                       FOR A PARTICULAR PURPOSE

49. Plaintiff incorporates the facts and allegations explained above as   if fully set forth

   herein.

50. Defendants are either the designer, manufacturer, assembler, distributor, andlor seller of

   the cooker. Defendant "HSN" sold and shipped the cooker to Plaintiff.

51. In selling its product to Plaintiff, Defendants, through their agents, servants, employees,

   and apparent agents acting within the scope of their employment, authority, or apparent

   authority, made representations and promotions concerning the particular purpose to

   which Plaintiff would put the product to use and knew or should have known of the

   particular purpose to which Plaintiff would put the product to use. Defendants impliedly

   warranted that the product would be fit for such particular purpose.

52. Defendants breached its implied warranty   of fitness for a particular purpose, as the

   product did not conform to the Defendant's affirmations regarding its product being fit

   for such particular purpose. The cooker's malfunctioning safety features and overall

   unsafe condition rendered it unfit for that purpose.

53. As a direct and proximate result of Defendants' breach of the implied warranty of fitness

   for a particular purpose, Plaintiff sustained the injuries and losses described herein.




   Plaintiff's Original Complaint                                                                 11
      Case 1:17-cv-00498-LY Document 1 Filed 05/24/17 Page 12 of 12



                                           XII.    DAMAGES

54. As a direct and proximate result of Defendants' conduct, Plaintiff Cindy A. Ferguson

   suffered the following injuries and damages:

   a. Medical expenses in the past and future;

   b. Physical pain and mental anguish in the past and future;

   c. Disfigurement in the     past and future;

   d. Physical impairment in the past and future; and

   e. Past lost wages and loss      of future earning capacity.

                               XIII. REQUEST FOR JURY TRIAL

   55. Plaintiff requests a jury trial on all issues triable.

                                             XIV. PRAYER

    56. For the above reasons, Plaintiff Cindy A. Ferguson prays that Defendants be

   cited to appear and answer herein and that upon final trial, Plaintiff obtains a judgment

   against Defendants for the following:

   a. Actual damages within the jurisdictional limits of the Court;

   b. Pre-judgment and Post-judgment interest at the lawful rate;

   c. Costs   of suit; and

   d. All such other and further relief to which Plaintiff may show herself justly

   entitled under law or in equity.

                                              Respectfully submitted,
                                                            4y'i        Jv7
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                                              Austin, Texas 78723
                                              Telephone: 512.744.3528
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    Plaintiffs Original Complaint                                                              12
